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           EXHIBIT # 1
  Case 1:24-cv-03880-LDH-LKE Document 8-2 Filed 06/19/24 Page 2 of 2 PageID #: 263


  From: Tyrone Blackburn tblackburn@tablackburnlaw.com
Subject: Moyle, et al. v. UPS. 503187/2024
   Date: February 12, 2024 at 1:28 PM
     To: Lajewski, Leslie A. leslie.lajewski@ogletree.com, Laura Watanabe LWatanabe@welgpllc.com

       Good afternoon Lisa,

       Wanted to inform you that the UPS class case has been filed in Kings County Court. The case is attached here. Will your client waive
       service of process?

       FYI, cases for Fari Murray, Danny Moyle, and Roy Welch were filed as well. I will send you those pleadings under a different email as
       they have different case numbers. Tyler Lilly and Travis Steele will both be filed this week as they are reviewing the pleadings.

       I am submitting Pro Hac applications for Kevin Mahoney, Rodney Diggs, and their colleagues.

       Regards,

       Tyrone A. Blackburn, Esq.
       T. A. Blackburn Law, PLLC.
       Phone: 347-342-7432
       TABlackburnlaw.com




        Filed Complaint-
         Moyel…24.pdf
